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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

CHERYLL TIMPA, et al.,                         §
                                               §
     Plaintiffs,                               §
                                               §
v.                                             §    Civil Action No. 3:16-CV-03089-N
                                               §
DUSTIN DILLARD, et al.,                        §
                                               §
     Defendants.                               §

                                           ORDER

        The civil jury trial in this case is reset to September 18, 2023, at 9:00 a.m.

        Signed July 24, 2023.




                                                              David C. Godbey
                                                       Chief United States District Judge




ORDER – SOLO PAGE
